

Matter of Munezero L. (Baseme M.) (2023 NY Slip Op 06693)





Matter of Munezero L. (Baseme M.)


2023 NY Slip Op 06693


Decided on December 22, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, BANNISTER, GREENWOOD, AND DELCONTE, JJ.


1014 CAF 22-01036

[*1]IN THE MATTER OF MUNEZERO L. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; BASEME M., RESPONDENT-APPELLANT. (APPEAL NO. 4.)






DAVID J. PAJAK, ALDEN, FOR RESPONDENT-APPELLANT.
BENJAMIN E. MANNION, BUFFALO, FOR PETITIONER-RESPONDENT.
GARY MULDOON, ROCHESTER, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Kelly A. Brinkworth, J.), entered June 16, 2022, in a proceeding pursuant to Family Court Act article 10. The order, among other things, adjudged that respondent derivatively abused the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Dorika S. (Baseme M.) ([appeal No. 1] — AD3d — [Dec. 22, 2023] [4th Dept 2023]).
Entered: December 22, 2023
Ann Dillon Flynn
Clerk of the Court








